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                          UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

                                                )
  ROTHSCHILD BROADCAST                          )
  DISTRIBUTION SYSTEMS, LLC                     )
                                                )
                         Plaintiff,             )    C.A. No. 2:18-cv-00334-RWS
                                                )
        v.                                      )    JURY TRIAL DEMANDED
                                                )
  DISH NETWORK CORPORATION                      )


                         Defendant.

                       NOTICE OF APPEARANCE OF COUNSEL

        Notice is hereby given that attorney George Hopkins Guy, III is entering an

 appearance for Defendant, DISH Network Corporation, in the above-numbered and

 entitled cause:

                   George Hopkins Guy, III
                   BAKER BOTTS, L.L.P.
                   1001 Page Mill Road,
                   Building One, Suite 200
                   Palo Alto, CA 94304
                   Email: hop.guy@bakerbotts.com
                   Tel.: (650) 739-7500
                   Fax: (650) 739-7699

        Mr. Guy is admitted to the Eastern District of Texas.

 Dated: August 23, 2018                      Respectfully submitted,

                                             /s/ G. Hopkins Guy, III
                                             G. Hopkins Guy, III
                                             BAKER BOTTS L.L.P.
                                             1001 Page Mill Road,
                                             Building One,Suite 200
                                             Palo Alto, CA 94304
                                             Email: hop.guy@bakerbotts.com
                                             Tel.: (650) 739-7500
                                             Fax: (650) 739-7699

                                             Attorney for DISH Network Corporation
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                             CERTIFICATE OF SERVICE


        This is to certify that all counsel of record who are deemed to have consented to

 electronic service are being served with a copy of the foregoing document via the Court’s

 CM/EMF system per Local Rule CV-5(a)(3) on the 23rd day of August, 2018. Any other

 counsel of record will be served via First Class Mail.



                                             /s/ G. Hopkins Guy
                                               G. Hopkins Guy
